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                   EXHIBIT G
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                                                                U.S. Department of Justice

                                                                Civil Division, Fraud Section



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Via Courier or Over-night Delivery                    March 25, 2009

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         Re:       Average Wholesale Price Multi-District Litigation
                   MDL No. 1456/C.A. No. 01-12257-PBS (D. Mass.)

Dear Counsel:

        Enclosed please find four compact discs, labeled HHD337 through HHD340, containing
additional material from the Office of Legislation, CMS. The location of any text that has been
redacted based on the deliberative process privilege has been identified by the use of a “redacted”
legend.

         Thank you for your attention.

                                          Very Truly Yours,

                                                /s/
                                         Justin Draycott
                                         Trial Attorney
                                    Commercial Litigation Branch


Enclosures
cc:    Jim Breen
       George B. Henderson
